Case 8:22-cv-00121-JLB-SPF Document 48 Filed 08/15/22 Page 1 of 2 PageID 422




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ALLEN S. COUTURE, et al.,

             Plaintiffs,

v.                                                Case No. 8:22-cv-121-JLB-SPF

LLOYD J. AUSTIN, III, in his official
capacity as Secretary of Defense, et al.,

             Defendants.
                                        /



                                       ORDER

      Before the Court is Defendants’ Unopposed Motion to Stay Proceedings (Doc.

47) pending final resolution of the government’s appeal of the nationwide

preliminary injunction entered in Feds for Med. Freedom v. Biden, No. 3:21-cv-356,

2022 WL 188329, at *8 (S.D. Tex. Jan. 21, 2022), appeal pending No. 22-40043 (5th

Cir.) The appeal in Feds for Med. Freedom addresses many issues germane to this

matter 1, and a stay in this matter will not prejudice Plaintiffs given that the




1 Plaintiffs in Feds for Med. Freedom challenge the constitutionality of Executive
Order 14043, which requires COVID-19 vaccinations for all federal employees.
See Feds for Med. Freedom, 2022 WL 188329 at *1. The issues on appeal include
(1) whether federal employees’ challenges to Executive Order 14043 are precluded
by the Civil Service Reform Act, (2) whether federal employees who seek to
preemptively challenge enforcement of Executive Order 14043 in district court
present ripe claims, and (3) whether Executive Order 14043 was a lawful exercise of
the President’s constitutional and statutory authority. See Feds for Med. Freedom
v. Biden, No. 22-40043 (5th Cir.); Feds for Med. Freedom v. Biden, 30 F.4th 503 (5th
Cir.), reh’g en banc granted, opinion vacated, 37 F.4th 1093 (5th Cir. 2022).
Case 8:22-cv-00121-JLB-SPF Document 48 Filed 08/15/22 Page 2 of 2 PageID 423




injunction issued by the court in Feds for Med. Freedom will remain in place while

the appeal is pending. Thus, in the interests of efficiency and judicial economy, the

Court finds it appropriate to stay this matter pending resolution of the appeal of the

nationwide injunction issued in Feds for Med. Freedom. 2

      Within fourteen (14) days of the issuance of the Fifth Circuit’s opinion in

Feds for Med. Freedom v. Biden, No. 22-40043 (5th Cir.), the parties are directed to

file a joint notice and motion requesting such relief as is appropriate. The parties

are further directed to file a joint status report on October 14, 2022, and every sixty

days thereafter, notifying the Court of the status of the appeal in Feds for Med.

Freedom v. Biden, No. 22-40043 (5th Cir.).

      Accordingly, the Clerk is DIRECTED to STAY the case and place a STAY

FLAG on the file until further notice.

      ORDERED in Tampa, Florida on August 15, 2022.




2In these circumstances, two other courts in this district have stayed litigation
challenging Executive Order 14043 pending the outcome of the Feds for Med.
Freedom appeal. See Health Freedom Defense Fund v. Biden, No. 8:21-cv-2679-
MSS-JSS (M.D. Fla. Mar. 25, 2022), ECF No. 36; State Dep’t Employee 1 v.
Mayorkas, No. 8:22-cv-364-SDM-TGW (M.D. Fla. July 5, 2022), ECF No. 28.

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